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10
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
11
                              FOR THE COUNTY OF SAN FRANCISCO
12
     REBECCA SCHWARTZ, ZACHARY CHIN,                   Case No.                      CGC-21-596576
13
     JOSEPH FLINDERS, DANIEL CHOU, and
14   QUIANA PLEASANT, on behalf of                     CLASS ACTION COMPLAINT
     themselves and all others similarly situated
15                         Plaintiffs,                 [DEMAND FOR JURY TRIAL]

16           v.
17
     DOORDASH, INC., and DOES 1- 50,
18   inclusive,

19                          Defendant.
20

21          Plaintiffs REBECCA SCHWARTZ, ZACHARY CHIN, JOSEPH FLINDERS,
22   DANIEL CHOU, and QUIANA PLEASANT, on behalf of themselves and all others similarly
23   situated, complain and allege upon information and belief based, among other things, upon the
24   investigation made by Plaintiffs and through their attorneys as follows:
25                                        NATURE OF ACTION
26          1.     This is a proposed class action seeking monetary damages, restitution, and injunctive
27   and declaratory relief from Defendant Doordash, Inc. (“Defendant” or “DoorDash”), arising from its
28
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 1   deceptive and untruthful promises to provide food delivery services for a flat, low cost “Delivery

 2   Fee.”

 3           2.      Since the beginning of the COVID-19 pandemic, DoorDash has aggressively

 4   marketed its flat, low cost “Delivery Fees,” exploiting an opportunity presented by Americans’

 5   reduced willingness to leave their homes. To appeal to consumers in a crowded food delivery

 6   marketplace, DoorDash has prominently marketed a flat, low cost “Delivery Fee” in its mobile

 7   application.

 8           3.      These representations, however, are false.        DoorDash imposes hidden delivery

 9   charges on its users in two ways.

10           4.      First, DoorDash makes the “Delivery Fee” it quotes to users appear to be lower than

11   it actually is by hiding a portion of that delivery fee in a different line item called “Fees and Estimated

12   Tax.” Obscured from users and hidden with the “Fees and Estimated Tax” amount is an additional

13   “Service Fee” that is nothing more than a delivery fee in disguise. This “Service Fee”—which is

14   itself obscured from users and bundled with a sales tax—amounts to an additional 15% of the food

15   order amount. But it is not a “Service Fee” at all. Because the only “service” provided by DoorDash

16   is food delivery, this “Service Fee” is by definition an additional hidden delivery fee. DoorDash

17   obscures the true nature of the fee by naming it a “service fee.”

18           5.      Second, and even more insidiously, DoorDash secretly marks up food prices for

19   delivery orders only by 20-25%, without informing users. In other words, the identical food costs

20   more when ordered through the DoorDash app than it does when ordered in person at a restaurant or

21   through the restaurant’s own website or app. Because DoorDash’s only function is to provide food

22   delivery services, this price differential is another hidden delivery fee.

23           6.      Both of these hidden delivery upcharges make DoorDash’s flat, low cost “Delivery

24   Fee” promises patently false. The true delivery costs are obscured, as described above, and far

25   exceed the prominent flat, low cost “Delivery Fee” promised.

26           7.      By falsely marketing flat, low cost “Delivery Fees,” DoorDash deceives consumers

27   into making online food purchases they otherwise would not make.

28           8.      DoorDash misrepresents the nature of the delivery charges assessed on the DoorDash

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 1   mobile application and the website, by issuing in-app and online marketing materials that fail to

 2   correct reasonable understandings of the flat, low cost “Delivery Fee” delivery promises, and that

 3   misrepresent the actual costs of the delivery service.

 4          9.       Specifically, DoorDash omits and conceals material facts about the DoorDash

 5   delivery service, never once informing consumers in any disclosure, at any time, that: (a) use of the

 6   delivery service causes an increase in food prices; and (b) the so-called “service fee” is assessed

 7   exclusively on delivery customers and is therefore by definition a delivery charge.

 8          10.     Hundreds of thousands of DoorDash customers like Plaintiffs have been assessed

 9   hidden delivery charges they did not bargain for, and will continue to be assessed such hidden

10   delivery fees unless DoorDash’s conduct is enjoined.

11          11.     Consumers like Plaintiffs reasonably understand the flat, low cost “Delivery Fee”

12   representations mean the total additional cost they will pay as a result of having their food delivered,

13   as opposed to ordering online from a restaurant and picking up food in person or ordering and picking

14   up food in person.

15          12.     By unfairly obscuring its true delivery costs, DoorDash deceives consumers and gains

16   an unfair upper hand on competitors that fairly disclose their true delivery charges. For example,

17   DoorDash restaurant competitors Del Taco, El Pollo Loco, and P.F. Chang’s all offer delivery

18   services through their app and website. But unlike DoorDash, those apps fairly and prominently

19   represent their true delivery charges.

20          13.     Plaintiffs and the Class members have been injured by DoorDash’s practices.

21   Plaintiffs bring this action on behalf of themselves, the putative Classes, and the general public.

22   Plaintiffs seek actual damages, punitive damages, restitution, and an injunction on behalf of the

23   general public to prevent DoorDash from continuing to engage in its illegal practices described herein

24   and to fairly allow consumers to decide whether they will pay DoorDash’s delivery mark-ups.

25                                                 PARTIES

26          14.     Plaintiff Rebecca Schwartz is a citizen of the State of California who resides in

27   Berkeley, California.

28          15.     Plaintiff Zachary Chin is a citizen of the State of New York who resides in New York,

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 1   New York.

 2            16.    Plaintiff Joseph Flinders is a citizen of the State of Ohio who resides in Batavia, Ohio.

 3            17.    Plaintiff Daniel Chou is a citizen of the State of California who resides in Long Beach,

 4   California.

 5            18.    Plaintiff Quiana Pleasant is a citizen of the State of Massachusetts who resides in

 6   Rockland, Massachusetts.

 7            19.    Defendant, DoorDash, Inc., is incorporated in Delaware and maintains its principal

 8   business offices in San Francisco, California.

 9                                      JURISDICTION AND VENUE

10            20.    This Court has jurisdiction over Defendant and the claims set forth below pursuant to

11   Code of Civil Procedure § 410.10 and the California Constitution, Article VI § 10, because this case

12   is a cause not given by statute to the other trial courts.

13            21.    Plaintiffs are informed and believe that the State of California has personal

14   jurisdiction over the Defendant named in the action because Defendant is a corporation authorized

15   to conduct and does conduct business in this State. Defendant maintains its corporate headquarters

16   in California, is registered with the California Secretary of State to do sufficient business with

17   sufficient minimum contacts in California, and/or otherwise intentionally avails itself of the

18   California market by conducting business throughout California, including in the County of San

19   Francisco, which has caused both obligations and liability of Defendant to arise in the County of

20   Francisco.

21            22. The amount in controversy exceeds the jurisdictional minimum of this Court.

22                                 COMMON FACTUAL ALLEGATIONS

23            A.     Food Delivery Services Increase in Popularity, and then Explode in Popularity

24                   During the Pandemic

25            23.    In 2018, the online food delivery industry was an astounding $82 billion in gross

26   revenue and projected to exceed $200 billion by 2025.1

27
     1See
        Frost & Sullivan, $9.6 Billion in Investments Spurring Aggressive Expansion of Food Delivery
28   Companies, October 25, 2019, accessible at https://ww2.frost.com/news/press-releases/9-6-billion-
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 1          24.     US Foods reports that the average American consumer has two food delivery apps

 2   installed on their mobile phone and uses those apps three times per month. 2

 3          25.     The online food delivery industry predominately influences the country’s most

 4   financially vulnerable populations. A nationwide research study conducted by Zion & Zion reveals

 5   that the largest user markets for online delivery food services are the young and the poor. 3 During a

 6   90-day timeframe, 63% of consumers between the ages of 18 and 29 used a multi-restaurant delivery

 7   website or app service, followed by 51% of consumers between the ages of 30 to 44.4 The study also

 8   demonstrated that the ”less income a consumer earns, the more likely the consumer is to take

 9   advantage of restaurant delivery services,” as those earning less than $10,000 per year ordered online

10   delivery the most (51.6%).5

11          26.     Put plainly, the allure for online food delivery services has historically been based

12   upon pure convenience. A 2019 Gallup study of third-party delivery services companies like

13   GrubHub, DoorDash, and Uber Eats reported 72% of customers order online food delivery because

14   they don’t want to leave their house; 50% so that they can continue with their ongoing activities; and

15   41% to avoid bad weather.6

16          27.     According to data compiled by Yelp, food delivery orders have doubled since the

17   COVID-19 outbreak began.7

18          28.     The arrival of the unprecedented COVID-19 pandemic escalated the value of online

19
     in-investments-spurring-aggressive-expansion-of-food-delivery-companies/, last accessed January
20   19, 2021.
     2See US Foods, New Study Shows What Consumers Crave in a Food Delivery Service, 2019,
21   accessible        at       https://www.usfoods.com/our-services/business-trends/2019-food-delivery-
     statistics.html, last accessed January 19, 2021.
22   3
       See Aric Zion and Thomas Hollman, Zion & Zion Research Study, Usage and Demographics of
23   Food Delivery Apps, accessible at https://www.zionandzion.com/research/food-delivery-apps-
     usage-and-demographics-winners-losers-and-laggards/, last accessed January 19, 2021.
     4Id.
24
     5Id.
25   6See Sean Kashanchi, Gallup, Third-Party Delivery Will Grow; Is Your Restaurant Ready?, May 6,

     2019,      accessible     at    https://www.gallup.com/workplace/248069/third-party-delivery-grow-
26
     restaurant-ready.aspx, last accessed January 19, 2021.
     7See Tal Axelrod, The Hill, Yelp: Delivery and take-out twice as popular as usual amid coronavirus,
27
     March 20, 2020, available at https://thehill.com/policy/technology/488749-yelp-delivery-and-take-
28   out-twice-as-popular-as-usual-amid-coronavirus, last accessed January 19, 2021.
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 1   food delivery services from one of pure convenience to that of a comforting necessity for many

 2   consumers who are sick, in a high-risk population group for COVID-19, or simply do not feel safe

 3   to leave their homes and venture out into the public to purchase food during quarantine.

 4            29.   In its 2019 Economic Report conducted by research firm Technomic, DoorDash

 5   reported that 86% of customers agreed that DoorDash played an important role in helping them

 6   access food during the pandemic and 77% of consumers increased their use of third-party delivery

 7   services during this time.8 Indeed, amidst the uncertainty of the novel virus, 68% of consumers now

 8   view ordering food online for delivery as the safer option.9

 9            30.   The era of COVID-19 undoubtedly caused a significant revenue boom for third party

10   delivery services. SEC filings indicate that the top four U.S. food-delivery apps (DoorDash, Uber

11   Eats, GrubHub, and Postmates) collectively experienced a $3 billion increase in revenue in just two

12   quarters, April through September, following the enactment of shelter-in-place restrictions

13   throughout the nation.10

14            31.   The ramp up in utilization of food delivery services also had a massive positive impact

15   on restaurant owners who were quickly on the brink of facing permanent closures during lockdown:

16   67% of restaurant operators said DoorDash was crucial to their business during COVID-19 and 65%

17   say they were actually able to increase profits during this time because of DoorDash.

18            32.   In the wake of the food delivery surge, Consumer Reports highlighted the need for

19   fee transparency for consumers who use these apps and services. 11 A research team investigated food

20   delivery companies and the report measured their compliance with new rules regarding fees enacted

21
     8See  Technomic and DoorDash, 2019 Economic Impact Report, The Impact of DoorDash on
22
     Economic Activity and Restaurant Resilience, available at https://doordashimpact.com/media/2019-
23   Economic-Impact-Report.pdf, last accessed January 19, 2021.
     9Id.
     10See Levi Sumagaysay, Market Watch, The pandemic has more than doubled food-delivery apps’
24
     business.    Now      what?,    last   updated     November         27,   2020,    available   at
25   https://www.marketwatch.com/story/the-pandemic-has-more-than-doubled-americans-use-of-food-
     delivery-apps-but-that-doesnt-mean-the-companies-are-making-money-11606340169, last accessed
26
     January 19, 2021.
     11See Consumer Reports, Collecting Receipts: Food Delivery Apps & Fee Transparency, September
27
     29,        2020,        accessible       at        https://digital-lab-wp.consumerreports.org/wp-
28   content/uploads/2020/09/Food-delivery_-Report.pdf, last accessed January 19, 2021.
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 1   in seven US cities aimed at protecting consumers and businesses during the pandemic. It found that

 2   these companies continued to not comply with the new ordinances and continued to “employ design

 3   practices that obfuscate fees.” They concluded that “[c]onsumers deserve to have informed choices

 4   to understand what they are being charged for and how their dollars spent impacts the restaurants

 5   they support and patronize in their communities.”

 6          B.      DoorDash’s App Fails to Bind Users to Any Terms of Service

 7          33.     When a consumer downloads the DoorDash app, or uses the DoorDash website, the

 8   user is required to create an account in order to place an order for delivery or pickup.

 9          34.     In order to do so, a user enters in a name and contact information.

10          35.     While the account creation screen contains a small hyperlink to view DoorDash’s

11   Terms of Service, users are not required affirmatively consent to such terms, such as by clicking a

12   check box.

13          C.      DoorDash Prominently Promises a Flat, Low-Cost Delivery Fee on its App

14          36.     DoorDash prominently features flat, low cost “Delivery Fee” promises on its mobile

15   application.

16          37.     Such representations are made on the home screen of the app and throughout the

17   purchasing process.

18          38.     These flat, low cost “Delivery Fee” representations are then reiterated on the

19   penultimate screen shown to consumers before finalizing a food purchase.

20          39.     Specifically, that penultimate screen states:

21          Subtotal: [representing the cost of the food selected]

22          Delivery Fee: [stated as a flat amount]

23          Fees & Estimated Tax: [representing sales taxes and additional fees]

24          CONTINUE: [adding up the above]

25          40.     In the end, there was no way for Plaintiffs or other users of the DoorDash mobile

26   application or website to avoid seeing DoorDash’s promises of a flat, low cost “Delivery Fee.”

27          D.      DoorDash Omits and Conceals Material Facts About the Costs of the DoorDash

28                  Delivery Service

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 1          41.     But those disclosures were false and misleading.

 2          42.     First, DoorDash furtively marked up the cost of food reflected in the “Subtotal”—

 3   adding 20-25% to the cost of food ordered for delivery, as compared with the cost of the same food

 4   ordered from the restaurant directly, either online or in person. Indeed, restaurants did not and do

 5   not make similar mark-ups for identical food items ordered for pickup via their apps or in person.

 6          43.     DoorDash omitted this material fact from its app, never informing users of this secret

 7   food markup.

 8          44.     This secret markup is in actuality a hidden delivery fee. This alone renders false

 9   DoorDash’s promise of a flat, low-cost “Delivery Fee,” which is made repeatedly in the app, and

10   then in the “Delivery Fee” line item on the order screen.

11          45.     In short, the “Delivery Fee” is not actually the flat fee quoted. The actual “Delivery

12   Fee”—the extra charge for having food delivered as opposed to picking it up at the restaurant—is

13   the listed “Delivery Fee” plus the hidden food markup applied by DoorDash.

14          46.     Second, DoorDash applies a “Service Fee” exclusively to delivery orders, hides that

15   “Service Fee” from users behind a hyperlink, and misrepresents what the “Service Fee” is actually

16   for: a hidden delivery charge.

17          47.     On the ordering screen, and for the first time in the ordering process, DoorDash

18   presents a line item called “Fees and Estimated Tax.” The ordering screen does not explain what

19   “Fees and Estimated Tax” are comprised of.

20          48.     Indeed, the phrase “Fees and Estimated Tax” represents to reasonable consumers like

21   Plaintiffs that the line item represents government-imposed assessments like taxes. But that is not

22   true. By grouping DoorDash's own fees with government-imposed taxes, DoorDash intends to and

23   does obscure the difference between the two.

24          49.     Only if a user clicks on an “i” button near that line do two further line-items appear:

25   “Service Fee” and “Estimated Tax.” “Estimated Tax” adds the locally applicable sales tax rate.

26   “Service Fee” adds a further charge of 15% of the total food cost.

27          50.     But because DoorDash’s sole “service” is to provide delivery of food, this “Service

28   Fee” is by definition an additional hidden delivery charge.

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 1             51.    In short, this is another reason the disclosed “Delivery Fee” is not actually the flat fee

 2   represented. The actual “Delivery Fee”—the extra charge for having food delivered as opposed to

 3   picking it up—is the listed “Delivery Fee” plus the hidden “Service Fee” markup applied by

 4   DoorDash.

 5             52.    If that were not enough, DoorDash misrepresents the true nature of the “Service Fee.”

 6             53.    If a user clicks a further link next to “Service Fee,” a disclosure appears stating that

 7   the fee “helps us operate DoorDash.”

 8             54.    This disclaimer is false and deceptive. “Operating DoorDash” is DoorDash’s core

 9   service: providing food delivery. The “Service Fee” is a hidden delivery fee.

10             55.    DoorDash does not inform consumers the true costs of its delivery service and it

11   misrepresents its Delivery Fee as a low-cost, flat fee, when in fact those costs are actually much

12   higher.

13             E.     Other Restaurant Industry Actors and DoorDash Competitors Disclose Delivery

14                    Fees Fairly and Expressly

15             56.    By unfairly obscuring its true delivery costs, DoorDash deceives consumers and gains

16   an unfair upper hand on competitors that fairly disclose their true delivery charges. For example,

17   DoorDash competitors Del Taco, El Pollo Loco and P.F. Chang’s all offer delivery services through

18   their app and website. But unlike DoorDash, these restaurants fairly and prominently represent their

19   true delivery charges.

20             57.    For example, Del Taco does not mark-up food charges for delivery orders through its

21   app, nor does it add an additional “service charge” to delivery orders. Instead, for delivery orders its

22   ordering screen presents the following:

23             Subtotal:

24             Tax:

25             Delivery Charge:

26             Tip:

27             58.    All line-item amounts are identical for delivery and pick-up orders, except for the

28   plainly and fairly disclosed delivery charge—allowing consumers to understand the true cost of the

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 1   delivery service.

 2          59.      Similarly, DoorDash competitor El Pollo Loco does not mark-up food charges for

 3   delivery orders through its app, nor does it add an additional “service charge” to delivery orders.

 4   Instead, for delivery orders its ordering screen presents the following:

 5                Subtotal:

 6                Delivery Charge:

 7                Tax:

 8          60.      All line-item amounts are identical for delivery and pick-up orders, except for the

 9   plainly and fairly disclosed delivery charge—allowing consumers to understand the true cost of the

10   delivery service.

11          61.      Similarly, DoorDash competitor P.F. Chang’s does not mark-up food charges for

12   delivery orders through its app, nor does it add an additional “service charge” to delivery orders.

13   Instead, for delivery orders its ordering screen presents the following:

14                Subtotal:

15                Delivery Estimate:

16                Tax:

17          62.      All line-item amounts are identical for delivery and pick-up orders, except for the

18   plainly and fairly disclosed delivery charge—allowing consumers to understand the true cost of the

19   delivery service.

20          F.       Plaintiffs’ Experiences

21          Rebecca Schwartz

22          63.      Plaintiff Rebecca Schwartz used the DoorDash app to make a purchase of food from

23   Shake Shack on May 2, 2021 in the total amount of $61.29.

24          64.      When using the app, and prior to placing her order, the DoorDash app stated that the

25   “Delivery Fee” was $3.99.

26          65.      However, the cost of food ordered by Plaintiff Schwartz bore a hidden delivery fee

27   markup. To illustrate, Plaintiff Schwartz ordered two Shack Burgers, two Fries, and Lemonade,

28   among other items.

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 1          66.     Upon information and belief, the exact same food items would have cost Plaintiff

 2   Schwartz 20-25% less had she ordered for pickup from Shake Shack on its app or website or ordered

 3   in person from Shake Shack. The differential represented a hidden delivery fee.

 4          67.     In addition, Plaintiff Schwartz’s purchase included a hidden “Service Fee” of $5.59

 5   that in fact represented an additional delivery fee.

 6          68.     Plaintiff Schwartz would not have made the purchase if she had known the DoorDash

 7   Delivery Fee was not truly $3.99.

 8          69.     If Plaintiff Schwartz had known the true Delivery Fee, she would have chosen another

 9   method for receiving food from Shake Shack or from another provider.

10          Zachary Chin

11          70.     Plaintiff Zachary Chin used the DoorDash app to make a purchase of food from

12   LoveMama on December 5, 2020, in the total amount of $85.74.

13          71.     When using the app, and prior to placing his order, the DoorDash app stated that the

14   “Delivery Fee” was free.

15          72.     However, the cost of the food ordered by Plaintiff Chin bore a hidden delivery fee

16   markup. To illustrate, Plaintiff Chin ordered Pad Thai, Thai Fried Rice, Uncle Plump’s Dumplings,

17   among other items.

18          73.     Upon information and belief, the exact same food items would have cost Plaintiff

19   Chin 20-25% less if he had ordered for pickup from LoveMama on its app or website or ordered in

20   person from LoveMama. This differential represented a hidden delivery fee.

21          74.     In addition, Plaintiff Chin’s purchase included a hidden “Service Fee” of $3.15 that

22   in fact represented an additional delivery fee.

23          75.     Plaintiff Chin would not have made the purchase if he had known the DoorDash

24   Delivery Fee was not truly free.

25          76.     If Plaintiff Chin had known the true Delivery Fee, he would have chosen another

26   method for receiving food from LoveMama or from another provider.

27          77.     Plaintiff Chin experienced similarly inflated Delivery Fees when making food

28   delivery purchases through DoorDash on at least two additional separate occasions: on November

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 1   24, 2020 on an order from La Palmera Family Mexican Restaurant (total $76.34) and on November

 2   25, 2020 on an order from Red Hot & Blue (total $56.18). In each instance, DoorDash stated that the

 3   “Delivery Fee” was free. However, in each instance, the cost of food ordered by Plaintiff Chin bore

 4   a hidden delivery fee in the form of a “Service Fee” and price markups on each food item, resulting

 5   in a much higher “Delivery Fee” than advertised. Plaintiff Chin would not have made these purchases

 6   had he known the Delivery Fee was not in fact “free.”

 7          Joseph Flinders

 8          78.     Plaintiff Joseph Flinders used the DoorDash app to make a purchase of food from

 9   Indian Bistro on October 2, 2020 in the total amount of $22.62.

10          79.     When using the app, and prior to placing his order, the DoorDash app stated that the

11   “Delivery Fee” was $1.99.

12          80.     However, the cost of food ordered by Plaintiff Flinders bore a hidden delivery fee

13   markup. To illustrate, Plaintiff Flinders ordered Garlic Nan and Malai Kofta.

14          81.     Upon information and belief, the exact same food items would have cost Plaintiff

15   Flinders 20-25% less if he had ordered for pickup through the Indian Bistro app or website or ordered

16   in person from Indian Bistro. This differential represented a hidden delivery fee.

17          82.     In addition, Plaintiff Flinders’ purchase included a hidden “Service Fee” of $1.65 that

18   in fact represented an additional delivery fee.

19          83.     Plaintiff Flinders would not have made the purchase had he known the DoorDash

20   Delivery Fee was not truly $1.99.

21          84.     If he had known the true Delivery Fee, he would have chosen another method for

22   receiving food from Indian Bistro or from another provider.

23          85.     Plaintiff Flinders experienced similarly inflated Delivery Fees when making food

24   delivery purchases through DoorDash on at least two additional separate occasions: on November

25   15, 2020 on an order from Indian Bistro (total $37.47) and on December 5, 2020 on an order from

26   Chipotle (total $18.70). In each instance, DoorDash stated that the “Delivery Fee” was a flat fee of

27   $1.99 or $2.99, respectively. However, in each instance, the cost of food ordered by Plaintiff Flinders

28   bore a hidden delivery fee in the form of a “Service Fee” and price markups on each food item,

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 1   resulting in a much higher “Delivery Fee” than advertised. Plaintiff Flinders would not have made

 2   these purchases had he known that the Delivery Fee was not in fact a flat fee as advertised.

 3          Daniel Chou

 4          86.     Plaintiff Daniel Chou used the DoorDash app to make a purchase of food from SUP

 5   Noodle Bar on August 27, 2020, in the total amount of $67.58.

 6          87.     When using the app, and prior to placing his order, the DoorDash app stated that the

 7   “Delivery Fee” was free.

 8          88.     However, the cost of food ordered by Plaintiff Chou bore a hidden delivery fee

 9   markup. To illustrate, Plaintiff Chou ordered Garlic Chicken Wings, Pho Shrimp, and Pho Rib Bones

10   among other items.

11          89.     Upon information and belief, the exact same food items would have cost Plaintiff

12   Chou 20-25% less if he had ordered for pickup through the SUP Noodle Bar app or website or

13   ordered in person from SUP Noodle Bar. This differential represented a hidden delivery fee.

14          90.     In addition, Plaintiff Chou’s purchase included a hidden “Service Fee” of $2.78 that

15   in fact represented an additional delivery fee.

16          91.     Plaintiff Chou would not have made the purchase had he known the DoorDash

17   Delivery Fee was not truly free.

18          92.     If he had known the true Delivery Fee, he would have chosen another method for

19   receiving food from SUP Noodle Bar or from another provider.

20          93.     Plaintiff Chou experienced similarly inflated Delivery Fees when making food

21   delivery purchases through DoorDash on at least seven additional separate occasions: on August 30,

22   2020 on an order from Katsu Bar (total $62.25); on September 17, 2020 on an order from Dunkin’

23   (total $18.51); on September 28, 2020 on an order from Pepper Lunch (total $51.12); on October 5,

24   2020 on an order from Ginzaya (total $73.15); on October 25, 2020 on an order from Clyde’s (total

25   $82.66); on November 19, 2020 on an order from Lee’s Sandwiches (total $25.39); and on November

26   28, 2020 on an order from Chipotle (total $52.43). In each instance, DoorDash stated that the

27   “Delivery Fee” was either “free” or a flat fee. However, in each instance, the cost of food ordered by

28   Plaintiff Chou bore a hidden delivery fee in the form of a “Service Fee” and price markups on each

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 1   food item, resulting in a much higher “Delivery Fee” than advertised. Plaintiff Chou would not have

 2   made these purchases had he known the Delivery Fee was not in fact “free” or a flat fee as advertised.

 3          Quiana Pleasant

 4          94.     Plaintiff Quiana Pleasant used the DoorDash app to make a purchase of food from

 5   Bertucci’s on May 1, 2020, in the total amount of $48.20.

 6          95.     When using the app, and prior to placing her order, the DoorDash app stated that the

 7   “Delivery Fee” was a flat $2.99.

 8          96.     However, the cost of food ordered by Plaintiff Pleasant bore a hidden delivery fee

 9   markup. To illustrate, Plaintiff Pleasant ordered Chicken Wings and Shrimp Rossini.

10          97.     Upon information and belief, the exact same food items would have cost Plaintiff

11   Pleasant 20-25% less if she had ordered for pickup through the Bertucci’s app or website or ordered

12   in person from Bertucci’s. This differential represented a hidden delivery fee.

13          98.     In addition, Plaintiff Pleasant’s purchase included a hidden “Service Fee” of $4.12

14   that in fact represented an additional delivery fee.

15          99.     Plaintiff Pleasant would not have made the purchase if she had known the DoorDash

16   Delivery Fee was not truly $2.99.

17          100.    If she had known the true Delivery Fee, she would have chosen another method for

18   receiving food from Bertucci’s or from another provider.

19          101.    Plaintiff Pleasant experienced similarly inflated Delivery Fees when making food

20   delivery purchases through DoorDash on at least three additional separate occasions: on November

21   24, 2020 on an order from Chili’s Grill & Bar (total $46.34); on November 24, 2020 on an order

22   from Auntie Anne’s (total $22.86); and on November 1, 2020 on an order from Chili’s Grill & Bar

23   (total $58.99). In each instance, DoorDash stated that the “Delivery Fee” was a flat fee of $8.99 or

24   $6.99. However, in each instance, the cost of food ordered by Plaintiff Pleasant bore a hidden

25   delivery fee in the form of a “Service Fee” and price markups on each food item, resulting in a much

26   higher “Delivery Fee” than advertised. Plaintiff Pleasant would not have made these purchases had

27   she known the Delivery Fee was not in fact a flat fee as advertised.

28                                         CLASS ALLEGATIONS

                                                   14
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 1          102.      Pursuant to California Code of Civil Procedure § 382, Plaintiffs bring this action on

 2   behalf of themselves and Classes of similarly situated persons defined as follows:

 3                California Class
                  All consumers in California who, within the applicable statute of
 4                limitations preceding the filing of this action to the date of class
                  certification, ordered food delivery through the DoorDash mobile app or
 5                website, and were assessed higher delivery charges than represented.
 6                New York Class
                  All consumers in New York who, within the applicable statute of
 7                limitations preceding the filing of this action to the date of class
                  certification, ordered food delivery through the DoorDash mobile app or
 8                website, and were assessed higher delivery charges than represented.
 9                Massachusetts Class
                  All consumers in Massachusetts who, within the applicable statute of
10                limitations preceding the filing of this action to the date of class
                  certification, ordered food delivery through the DoorDash mobile app or
11                website, and were assessed higher delivery charges than represented.
12                Ohio Class
                  All consumers in Ohio who, within the applicable statute of limitations
13                preceding the filing of this action to the date of class certification, ordered
                  food delivery through the DoorDash mobile app or website, and were
14                assessed higher delivery charges than represented.
15                Nationwide Class
                  All consumers who, within the applicable statute of limitations preceding
16                the filing of this action to the date of class certification, ordered food
                  delivery through the DoorDash mobile app or website, and were assessed
17                higher delivery charges than represented.
18

19          103.      Excluded from the Classes are Defendants, any entities in which they have a

20   controlling interest, any of their parents, subsidiaries, affiliates, officers, directors, employees and

21   members of such persons’ immediate families, and the presiding judge(s) in this case, and their staff.

22   Plaintiffs reserve the right to expand, limit, modify, or amend this class definition, including the

23   addition of one or more subclasses, in connection with his motion for class certification, or at any

24   other time, based upon, inter alia, changing circumstances and/or new facts obtained during

25   discovery.

26          104.      Numerosity: At this time, Plaintiffs do not know the exact size of the Classes;

27   however, due to the nature of the trade and commerce involved, Plaintiffs believe that the Class

28   members are well into the thousands, and thus are so numerous that joinder of all members is

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 1   impractical. The number and identities of Class members is administratively feasible and can be

 2   determined through appropriate discovery in the possession of the Defendant.

 3          105.    Commonality: There are questions of law or fact common to the Classes, which

 4   include, but are not limited to the following:

 5                  a.      Whether during the class period, Defendant deceptively represented its

 6                          Delivery Fee on food deliveries ordered through the DoorDash mobile app;

 7                  b.      Whether Defendant’s alleged misconduct misled or had the tendency to

 8                          mislead consumers;

 9                  c.      Whether Defendant engaged in unfair, unlawful, and/or fraudulent business

10                          practices under the laws asserted;

11                  d.      Whether Defendant’s alleged conduct constitutes violations of the laws

12                          asserted;

13                  e.      Whether Plaintiffs and members of the Classes were harmed by Defendant’s

14                          misrepresentations;

15                  f.      Whether Plaintiffs and the Classes have been damaged, and if so, the proper

16                          measure of damages; and

17                  g.      Whether an injunction is necessary to prevent Defendant from continuing to

18                          deceptively represent its Delivery Fee on food deliveries ordered through the

19                          DoorDash app.

20          106.    Typicality: Like Plaintiffs, many other consumers ordered food for delivery from

21   DoorDash’s website or mobile app, believing delivery to be flat, low cost “Delivery Fee” based on

22   Defendant’s representations. Plaintiffs’ claims are typical of the claims of the Classes because

23   Plaintiffs and each Class member was injured by Defendant’s false representations about the true

24   nature of the delivery fee. Plaintiffs and the Classes have suffered the same or similar injury as a

25   result of Defendant’s false, deceptive and misleading representations. Plaintiffs’ claims and the

26   claims of members of the Classes emanate from the same legal theory, Plaintiffs’ claims are typical

27   of the claims of the Classes, and, therefore, class treatment is appropriate.

28          107.    Adequacy of Representation: Plaintiffs are committed to pursuing this action and

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 1   have retained counsel competent and experienced in prosecuting and resolving consumer class

 2   actions. Plaintiffs will fairly and adequately represent the interests of the Classes and do not have

 3   any interests adverse to those of the Classes.

 4          108.    The Proposed Classes Satisfy the Rule 23(b)(2) Prerequisites for Injunctive

 5   Relief. Defendant has acted or refused to act on grounds generally applicable to the Classes, thereby

 6   making appropriate final injunctive and equitable relief with respect to the Classes as a whole.

 7   Plaintiffs remain interested in ordering food for delivery through DoorDash’s website and mobile

 8   app; there is no way for them to know when or if Defendant will cease deceptively misrepresenting

 9   the cost of delivery.

10          109.    Specifically, Defendant should be ordered to cease from representing their delivery

11   service as flat, low cost “Delivery Fee” and to disclose the true nature of their mark-ups.

12          110.    Defendant’s ongoing and systematic practices make declaratory relief with respect to

13   the Classes appropriate.

14          111.    The Proposed Classes Satisfy the Rule 23(b)(3) Prerequisites for Damages. The

15   common questions of law and fact enumerated above predominate over questions affecting only

16   individual members of the Classes, and a class action is the superior method for fair and efficient

17   adjudication of the controversy. The likelihood that individual members of the Classes will prosecute

18   separate actions is remote due to the extensive time and considerable expense necessary to conduct

19   such litigation, especially when compared to the relatively modest amount of monetary, injunctive,

20   and equitable relief at issue for each individual Class member.

21
                                           CAUSES OF ACTION
22                                     FIRST CLAIM FOR RELIEF
                        Violation of California’s Unfair Competition Law (“UCL”)
23                                 Cal. Bus. & Prof. Code § 17200, et seq.
                                (Asserted On Behalf of the California Class)
24

25          112.    Plaintiffs incorporate the preceding allegations by reference as if fully set forth herein.

26          113.    California Business & Professions Code § 17200 prohibits acts of “unfair

27   competition,” including any “unlawful, unfair or fraudulent business act or practice.” DoorDash’s

28   conduct related to deceptively representing that it provides its food delivery services for a flat, low

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 1   cost “Delivery Fee” on food deliveries ordered through its website and mobile app violates each of

 2   the statute’s “unfair,” “unlawful,” and “fraudulent” prongs.

 3          114.    The UCL imposes strict liability. Plaintiffs need not prove that DoorDash

 4   intentionally or negligently engaged in unlawful, unfair, or fraudulent business practices—but only

 5   that such practices occurred.

 6          115.    A business act or practice is “unfair” under the UCL if it offends an established public

 7   policy or is immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumers,

 8   and that unfairness is determined by weighing the reasons, justifications, and motives of the practice

 9   against the gravity of the harm to the alleged victims.

10          116.    A business act or practice is “fraudulent” under the UCL if it is likely to deceive

11   members of the public.

12          117.    A business act or practice is “unlawful” under the UCL if it violates any other law or

13   regulation.

14          118.    DoorDash committed unfair and fraudulent business acts and practices in violation of

15   Cal. Bus. & Prof. Code § 17200, et seq., by affirmatively and knowingly misrepresenting on its

16   website and mobile app that it provides a flat, low-cost Delivery Fee for food orders, when, in reality,

17   it hides delivery charges through hidden food markup applied exclusively to delivery orders, and

18   through the assessment of an elusive “Service Fee” exclusively charged to delivery customers.

19          119.    Defendant’s acts and practices offend an established public policy of fee transparency

20   in the marketplace, and constitute immoral, unethical, oppressive, and unscrupulous activities that

21   are substantially injurious to consumers.

22          120.    The harm to Plaintiffs and the Class outweighs the utility of Defendant’s practices.

23   There were reasonably available alternatives to further Defendant’s legitimate business interests,

24   other than the misleading and deceptive conduct described herein.

25          121.    Defendant’s conduct also constitutes an “unlawful” act under the UCL because, as

26   detailed in Plaintiffs’ Second Claim for Relief below, it also constitutes a violation of sections

27   1770(a)(5) and (a)(9) of the California Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code §

28   1750, et seq., infra, in that DoorDash deceptively represents that it charges a flat, low cost “Delivery

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 1   Fee” for food orders made on its website or mobile app; in reality, however, this marketing message

 2   is false because DoorDash’s (a) use of the delivery service causes an increase in food prices; and (b)

 3   the so-called “service fee” is assessed exclusively on delivery customers and is therefore by

 4   definition a delivery charge.

 5          122.    DoorDash’s business practices have misled Plaintiffs and the proposed Class and will

 6   continue to mislead them in the future.

 7          123.    Plaintiffs relied on Defendant’s misrepresentations about the falsely advertised cost

 8   of delivery in choosing to utilize the DoorDash food delivery service in ordering food from

 9   Defendant’s website or mobile app.

10          124.    By falsely marketing a flat, low cost “Delivery Fee,” DoorDash deceived Plaintiffs

11   and Class members into making online food purchases they otherwise would not make.

12          125.    Had Plaintiffs known the truth of the delivery service fee, i.e., that DoorDash’s

13   “Service Fee” and hidden food markups were in all reality “delivery fees,” they would have chosen

14   another method for receiving food, including ordering food from another provider.

15          126.    As a direct and proximate result of DoorDash’s unfair, fraudulent, and unlawful

16   practices, Plaintiffs and Class members suffered and will continue to suffer actual damages.

17   Defendant’s fraudulent conduct is ongoing and present a continuing threat to Class members that

18   they will be deceived into ordering food for delivery under the false belief that DoorDash’s true

19   delivery charge was represented by its prominently represented “Delivery Fee.”

20          127.    As a result of its unfair, fraudulent, and unlawful conduct, DoorDash has been

21   unjustly enriched and should be required to disgorge its unjust profits and make restitution to

22   Plaintiffs and Class members pursuant to Cal. Bus. & Prof. Code § 17203 and 17204.

23          128.    Pursuant to Business & Professions Code §§ 17203 and 17500, Plaintiffs and the

24   members of the Class, on behalf of the general public, seek an order of this Court enjoining Defendant

25   from continuing to engage, use, or employ their unfair, unlawful, and fraudulent practices.

26                                   SECOND CLAIM FOR RELIEF
                   Violation of California’s Consumer Legal Remedies Act (“CLRA”)
27                                     Cal. Civ. Code § 1750, et seq.
                               (Asserted On Behalf of the California Class)
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 1          129.    Plaintiffs incorporate the preceding allegations by reference as if fully set forth herein.

 2          130.    This cause of action is brought pursuant to the Consumers Legal Remedies Act

 3   (CLRA), California Civil Code § 1750, et seq. Plaintiffs and each member of the proposed Class are

 4   “consumers” as defined by California Civil Code § 1761(d). Defendant’s sale of food products to

 5   consumers for delivery ordered through its website and mobile app were “transactions” within the

 6   meaning of California Civil Code § 1761(e). Defendant’s online delivery service utilized by Plaintiffs

 7   and the Class is a “service” within the meaning of California Civil Code § 1761(b). The food products

 8   purchased by Plaintiffs and the Class are “goods” within the meaning of California Civil Code §

 9   1761(a).

10          131.    Defendant violated and continues to violate the CLRA by engaging in the following

11   practices proscribed by California Civil Code § 1770(a) in transactions with Plaintiffs and the Class

12   which were intended to result in, and did result in, the sale of DoorDash food orders for delivery:

13                  a.      “Representing that goods or services have . . . characteristics . . . that they do

14                          not have” (a)(5); and

15                  b.      “Advertising goods or services with intent not to sell them as advertised”

16                          (a)(9).

17          132.    Specifically, DoorDash advertises to customers that the charge for use of its delivery

18   service represented by the “Delivery Fee” disclosed, but this is false because Defendant imposes

19   hidden delivery charges to consumers through two ways: (1) by secretly marking up food items

20   applied exclusively for delivery orders and (2) by covertly applying a “Service Fee” and

21   misrepresenting that it is actually a delivery charge.

22          133.    At no time does DoorDash disclose the true nature of its delivery fee to consumers;

23   instead, it repeatedly conceals and misrepresents this material information at several steps of the

24   transaction process.

25          134.    DoorDash continues to violate the CLRA and continues to injure the public by

26   misleading consumers about its delivery fees. Accordingly, Plaintiffs seek injunctive relief on behalf

27   of the general public to prevent DoorDash from continuing to engage in these deceptive and illegal

28   practices. Otherwise, Plaintiff, the Class members, and members of the general public may be

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 1   irreparably harmed and/or denied effective and complete remedy if such an order is not granted.

 2          135.     In accordance with Cal. Civ. Code § 1780(a), Plaintiffs and the Class members seek

 3   injunctive and equitable relief on behalf of the general public for violations of the CLRA, including

 4   restitution and disgorgement.

 5          136.     Pursuant to § 1782(a) of the CLRA, Plaintiffs’ counsel notified Defendant in writing

 6   by certified mail of the particular violations of §1770 of the CLRA and demanded that it rectify the

 7   problems associated with the actions detailed above and give notice to all affected consumers of

 8   Defendant’s intent to act. If Defendant fails to respond to Plaintiffs’ letter or agree to rectify the

 9   problems associated with the actions detailed above and give notice to all affected consumers within

10   30 days of the date of written notice, as proscribed by §1782, Plaintiffs will move to amend their

11   Complaint to pursue claims for actual, punitive and statutory damages, as appropriate against

12   Defendant. As to this cause of action, at this time, Plaintiffs seek only injunctive relief.

13                                  THIRD CLAIM FOR RELIEF
                                   False and Misleading Advertising
14                           [Business & Professions Code §§ 17500, et seq.]
                              (Asserted On Behalf of the California Class)
15

16          137.     Plaintiffs re-allege and incorporate the foregoing paragraphs as though fully set
17   forth herein.
18          138.     California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17500,
19   states that “[i]t is unlawful for any ... corporation ... with intent … to dispose of ... personal
20   property ... to induce the public to enter into any obligation relating thereto, to make or disseminate
21   or cause to be made or disseminated ... from this state before the public in any state, in any
22   newspaper or other publication, or any advertising device, or by public outcry or proclamation, or
23   in any other manner or means whatever, including over the Internet, any statement...which is
24   untrue or misleading and which is known, or which by the exercise of reasonable care should be
25   known, to be untrue or misleading....”
26          139.     Defendant’s material misrepresentations and omissions alleged herein violate Bus.
27   & Prof. Code § 17500.
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 1            140.    Defendant knew or should have known that its misrepresentations and omissions

 2   were false, deceptive, and misleading.

 3            141.    Pursuant to Business & Professions Code §§ 17203 and 17500, Plaintiffs and the

 4   members of the Class, on behalf of the general public, seek an order of this Court enjoining

 5   Defendants from continuing to engage, use, or employ their practice of misrepresenting their

 6   delivery fees.

 7            142.    Further, Plaintiffs and the members of the Class seek an order requiring Defendant

 8   to disclose such misrepresentations, and additionally request an order awarding Plaintiffs

 9   restitution of the money wrongfully acquired by Defendants by means of said misrepresentations.

10            143.    Additionally, Plaintiffs and the Class members seek an order requiring Defendants

11   to pay attorneys’ fees pursuant to Cal. Civ. Code § 1021.5.

12                                   FOURTH CLAIM FOR RELIEF
                                       Deceptive Acts or Practices
13                                  [N.Y. Gen. Bus. Law § 349, et seq.]
14                               (Asserted On Behalf of the New York Class)

15            144.    Plaintiffs re-allege and incorporate the foregoing paragraphs as though fully set
16   forth herein.
17            145.    This cause of action is brought under New York’s General Business Law § 349, et
18   seq.
19            146.    N.Y. Gen. Bus. Law § 349(a) provides that “[d]eceptive acts or practices in the
20   conduct of any business, trade or commerce or in the furnishing of any service in this state are
21   hereby declared unlawful.”
22            147.    DoorDash committed deceptive acts and practices in violation of N.Y. Gen. Bus.
23   Law § 349 by affirmatively and knowingly misrepresenting on its website and mobile app that it
24   provides a flat, low-cost delivery fee for food orders, when, in reality, it hides delivery charges in
25   the form of a hidden “Service Fee” and through hidden food markups applied exclusively to
26   delivery orders.
27            148.    DoorDash’s actions regarding its food delivery service, as described herein, are
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 1   deceptive acts or practices in the conduct of business trade or commerce of food and in the

 2   furnishing of food delivery services.

 3            149.   The deceptive acts or practices and the furnishing of food delivery services took place

 4   in this State because DoorDash operates in this State and because the food delivery transaction took

 5   place in this State when DoorDash accepted Plaintiff’s food delivery order placed on the DoorDash

 6   website or mobile app in this State. In short, the underlying nature of the deceptive transactions

 7   occurred in New York.

 8            150.   N.Y. Gen. Bus. Law § 349(h) provides that “any person who has been injured by

 9   reason of any violation of this section may bring an action in his own name to enjoin such unlawful

10   act or practice, an action to recover his actual damages or fifty dollars, whichever is greater, or both

11   such action.”

12            151.   Plaintiff and the Class have been injured by Defendant’s violations of N.Y. Gen. Bus.

13   Law § 349.

14            152.   Defendant’s misleading and deceptive conduct occurred, and continues to occur, in the

15   course of DoorDash’s business.

16            153.   As an actual and proximate result of Defendant’s misconduct, Plaintiff and the Class

17   were injured and suffered damages.

18            154.   Defendant is liable to Plaintiff and the Class for damages in amounts to be proven at

19   trial.

20                                   FIFTH CLAIM FOR RELIEF
                                       Consumer Protection Act
21                                  [Mass. Gen. Laws c. 93A, et seq.]
22                            (Asserted On Behalf of the Massachusetts Class)

23            155.   Plaintiffs re-allege and incorporate the preceding paragraphs as though fully set
24   forth herein.
25            156.   The Massachusetts Consumer Protection Act declares unlawful any “unfair or
26   deceptive acts or practices in the conduct of any trade or commerce.” Mass. Gen. Laws c. 93A, §
27   2.
28
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 1             157.   Defendant’s acts and practices were in and affected trade or commerce as defined

 2   by Mass. Gen. Laws c. 93A.

 3             158.   Defendant engaged in unfair and deceptive acts and practices relating to its “Delivery

 4   Fee” for food orders placed for delivery through the DoorDash app or website. Specifically,

 5   DoorDash advertises to customers that the charge for use of its delivery service represented by the

 6   “Delivery Fee” disclosed, but this is false because Defendant imposes hidden delivery charges to

 7   consumers through two ways: (1) by secretly marking up food items applied exclusively for delivery

 8   orders and (2) by covertly applying a “Service Fee” and misrepresenting that it is actually a delivery

 9   charge.

10             159.   Defendant’s acts and practices proximately caused injury to Plaintiff and the Class,

11   and they are entitled to damages, injunctive and declaratory relief.

12             160.   Defendant’s actions as detailed above were knowing or willful violations of Mass.

13   Gen. Laws c. 93A, § 2, entitling Plaintiff and the Class members to an award of double or treble

14   damages.

15             161.   Before filing this Complaint, and in accordance with Section 9(3), Plaintiff sent a

16   written demand to Defendant regarding DoorDash’s deceptive and untruthful promises to provide

17   food delivery services for a flat, low cost “Delivery Fee.” Defendant did not make a satisfactory

18   response or reasonable offer of settlement.

19             162.   Because of the unfair and deceptive acts and practices of Defendant, on behalf of

20   the Class, Plaintiff seeks actual damages, minimum statutory damages, double and treble

21   damages, injunctive relief, and other such equitable relief as the Court finds necessary and proper,

22   as well as reasonable attorneys’ fees and costs. Mass. Gen. Laws c. 93A, § 9(3).

23                                 SIXTH CLAIM FOR RELIEF
                  Consumer Sales Practices Act – Unfair or Deceptive Acts or Practices
24                             [Ohio Rev. Code Ann. § 1345.02, et seq.]
25                               (Asserted On Behalf of the Ohio Class)

26             163.   Plaintiffs re-allege and incorporate the preceding paragraphs as though fully set
27   forth herein.
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 1          164.    The Ohio Consumer Sales Practices Act (the “CPSA”) prohibits unfair or deceptive

 2   acts or practices in connection with consumer transactions.

 3          165.    DoorDash is a “supplier” as that term is defined in Ohio Rev. Code Ann. §

 4   1345.01(C) and Plaintiff and the Ohio Class are “persons” and “consumers” as those terms are

 5   defined in Ohio Rev. Code Ann. § 1345.01(B) and (D).

 6          166.    The purchase of food orders for delivery via the DoorDash app and website

 7   constitutes a “consumer transaction” as that term is defined in Ohio Rev. Code § 1345.01(A).

 8          167.    DoorDash violated the CPSA when it knowingly and intentionally engaged in unfair

 9   and deceptive acts and practices relating to its “Delivery Fee” for food orders placed for delivery

10   through the DoorDash app or website. Specifically, DoorDash advertises to customers that the charge

11   for use of its delivery service represented by the “Delivery Fee” disclosed, but this is false because

12   Defendant imposes hidden delivery charges to consumers through two ways: (1) by secretly marking

13   up food items applied exclusively for delivery orders and (2) by covertly applying a “Service Fee”

14   and misrepresenting that it is actually a delivery charge.

15          168.    Defendant’s acts and practices were likely to and did in fact deceive and mislead

16   reasonable consumers, including Plaintiff and the Class, about the true cost of using DoorDash’s

17   delivery service.

18          169.    Plaintiff and the Class suffered ascertainable loss and actual damages as a direct

19   and proximate result of DoorDash’s misrepresentations and omissions regarding the true nature

20   of its “Delivery Fees.”

21          170.    Because of the unfair and deceptive acts and practices of Defendant, on behalf of

22   the Class, Plaintiff seeks actual damages, statutory damages, injunctive and declaratory relief, and

23   other such equitable relief as the Court finds necessary and proper, as well as reasonable attorneys’

24   fees and costs. Ohio Rev. Code Ann. § 1345.09.

25                                  SEVENTH CLAIM FOR RELIEF
                                      Deceptive Trade Practices Act
26                                  [Ohio Rev. Code § 4165.01, et seq.]
27                                    (On Behalf of the Ohio Class)

28
                                                  25
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 1          171.     Plaintiffs re-allege and incorporate the preceding paragraphs as though fully set

 2   forth herein.

 3          172.     Plaintiff brings this action pursuant to Ohio’s Deceptive Trade Practices Act (the

 4   “DTPA”), Ohio Rev. Code § 4165.01, et seq.

 5          173.     Defendant violated and continues to violate the DTPA by engaging in the following

 6   practices proscribed by Ohio Revised Code § 4165.02 in transactions with Plaintiff and the Class

 7   which were intended to result in, and did result in, the sale of DoorDash food orders for delivery:

 8                   a. “[r]epresent[ing] that goods or services have…characteristics…that they do not

 9                      have…”(A)(7); and

10                   b. “advertis[ing] goods or services with intent not to sell them as advertised;”

11                      (A)(11).

12          174.     Specifically, DoorDash advertises to customers that the charge for use of its delivery

13   service represented by the “Delivery Fee” disclosed, but this is false because Defendant imposes

14   hidden delivery charges to consumers through two ways: (1) by secretly marking up food items

15   applied exclusively for delivery orders and (2) by covertly applying a “Service Fee” and

16   misrepresenting that it is actually a delivery charge.

17          175.     At no time does DoorDash disclose the true nature of its delivery fee to consumers;

18   instead, it repeatedly conceals and misrepresents this material information at several steps of the

19   transaction process.

20          176.     DoorDash continues to violate the DTPA and continues to injure the public by

21   misleading consumers about its delivery fees. Accordingly, Plaintiffs seek injunctive relief on behalf

22   of the general public to prevent DoorDash from continuing to engage in these deceptive and illegal

23   practices. Otherwise, Plaintiff, the Class members, and members of the general public may be

24   irreparably harmed and/or denied effective and complete remedy if such an order is not granted.

25          177.     In accordance with Ohio Rev. Code § 4165.03(A)(1), Plaintiff and the Class members

26   seek injunctive relief on behalf of the general public for violations of the DTPA; actual damages

27   pursuant to Ohio Rev. Code § 4165.03(A)(2); and reasonable attorneys’ fees arising from

28   DoorDash’s willful violation of the DTPA in accordance with Ohio Rev. Code § 4165.03(B).

                                                  26
                                       CLASS ACTION COMPLAINT
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 1                               EIGHTH CLAIM FOR RELIEF
                                       Unjust Enrichment
 2    (Asserted On Behalf of the California Class, the New York Class, the Massachusetts Class,
                              the Ohio Class, and the Nationwide Class)
 3

 4          178.     Plaintiffs re-allege and incorporate the preceding paragraphs as though fully set
 5   forth herein.
 6          179.     To the detriment of Plaintiffs and the Classes, Defendant has been, and continues
 7   to be, unjustly enriched as a result of its wrongful conduct alleged herein.
 8          180.     Plaintiffs and the Classes conferred a benefit on Defendant when they paid
 9   Defendant higher Delivery Fees than advertised.
10          181.     Defendant unfairly, deceptively, unjustly, and/or unlawfully seized and accepted
11   said benefits which, under the circumstances, would be unjust to allow Defendant to retain.
12          182.     Defendant’s unjust enrichment is traceable to, and resulted directly and
13   proximately form, the conduct alleged herein.
14          183.     Plaintiffs and the Classes, therefore, seek disgorgement of all wrongfully obtained
15   fees received by Defendant as a result of its inequitable conduct as more fully stated herein.
16                                         PRAYER FOR RELIEF
17          WHEREFORE, Plaintiffs on behalf of themselves and the Classes seek judgment in an
18   amount to be determined at trial, as follows:
19          (a)          For public injunctive relief, enjoining Defendant from continuing the unlawful
20                       practices set forth above;
21          (b)          For declaratory and injunctive relief as set forth above;
22          (c)          For an order requiring Defendant to disgorge and make restitution of all monies
23                       it acquired by means of the unlawful practices set forth above;
24          (d)          For compensatory damages according to proof;
25          (e)          For punitive damages according to proof;
26          (f)          For reasonable attorneys’ fees and costs of suit;
27          (g)          For pre-judgment interest; and
28
                                                  27
                                       CLASS ACTION COMPLAINT
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 1         (h)         Awarding such other and further relief as this Court deems just, proper and

 2                     equitable.

 3                                           JURY DEMAND

 4         Plaintiffs hereby demand a jury trial on all claims so triable.

 5

 6   Dated: November 5, 2021                        KALIELGOLD PLLC
 7

 8
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                                      CLASS ACTION COMPLAINT
